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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          CA SE N O .15-14046-CR-M AR TlN EZ/LYN CH

  U NITED STA TES O F AM ERICA

          Plaintiff,
  VS.

  STEV EN LEE OA KE S,

          Defendant.
                                    /

         O R DE R AD O PTIN G M A G ISTR AT E'S REPO R T AN D RE C O M M EN D A TION

         TH IS CA U SE cam e before the Courtupon the OrderofReference from the D istrict
  Courtto conducta ChangeofPleabeforea M agistrateJudge.
         THE M ATTER wasreferredto ChiefM agistrateJudgeFrank J.Lynch Jr,on M arch 31,

  2016.A ReportandRecommendationwasfiledonApril15,2016,(ECF No.462j,
  recom m ending thatthe D efendant's plea ofguilty be accepted. The partiesw ere afforded the

  opportunitytofileobjectionstotheReportandRecommendation,howevernonewerefiled.The
  Courthasreviewedtheentirefileandrecordandnotesthatnoobjectionshavebeentiled.After
  carefulconsideration,theCourtaffirm sand adoptsthe Reportand Recom mendation.
  Accordingly,itishereby:

         ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.4621,of
  ChiefUnited StatesM agistrateJudgeFrnnk J.Lynch Jr,ishereby AFFIRM ED and ADOPTED
  in itsentirety.
         TheDefendantisadjudgedguiltytoCountsOne,Two,Three,Four,Five,Six,andNine
  ofthelndictm ent,which chargestheDefendantin,
         CountOnewithconspiracytodistributeandpossesswith intenttodistributefifty(50)
  grnm sorm ore ofm etham phetam ine.
         CountsTwo,Three,Four,FiveandNine,withpossessionwithintentto distributefive(5)
  gram sormore ofmethamphetam ine,and in
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         CountSixwith possessionwithintenttodistributefifty (50)gramsormoreof
  methamphetamine,allinviolation ofTitle21,UnitedStatesCode,Sections841(a)(1),
  841(b)(l)(A),841(b)(1)(B)and 846.
        DONEANDORDEREDinChambersatMiamiFlorida,thisV dayofMay,2016.
                                                   ,




                                            JOSE E.    R IN Z
                                            UN ITED    A TES D ISTRICT U D GE


  Copied:
  ChiefM agistrateJudgeLynch,Jr.
  A1lCounselOfRecord
